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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY

    STEPHEN BUSHANSKY,                                      ) Case No. 2:22-cv-06185-KSH-LDW
                                                            )
                           Plaintiff,                       )
                                                            )
                                                            ) NOTICE OF VOLUNTARY
                    vs.                                     ) DISMISSAL
                                                            )
    PBF LOGISTICS LP, THOMAS J. NIMBLEY,                    )
    MATTHEW C. LUCEY, C. ERIK YOUNG,                        )
    MICHAEL D. GAYDA, BRUCE A. JONES,                       )
    DAVID ROUSH, and LAWRENCE ZIEMBA,                       )
                                                            )
                          Defendants.                       )
                                                            )
                                                            )
                                                            )
                                                            )

          PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

   plaintiff Stephen Bushansky (“Plaintiff”) voluntarily dismisses the claims in the captioned action

   (the “Action”). Because this notice of dismissal is being filed with the Court before service by

   defendants of either an answer or a motion for summary judgment, Plaintiff’s dismissal of the

   Action is effective upon the filing of this notice.

    Dated: February 13, 2023                                 WEISS LAW


                                                         By s/ Mark. D. Smilow
                                                            Mark. D. Smilow
                                                            Michael Rogovin (to be admitted pro hac vice)
                                                            305 Broadway, 7th Floor
                                                            New York, NY 10007
SO ORDERED this day of February 14, 2023                    Tel: (212) 682-3025
s/Katharine S. Hayden                                       Fax: (212) 682-3010
Hon. Katharine S. Hayden, U.S.D.J.                          Email: msmilow@weisslawllp.com

                                                             Attorneys for Plaintiff
